Case 6:22-cv-00934-CEM-LHP Document 1-1 Filed 05/24/22 Page 1 of 4 PageID 10



                      EXHIBIT A
          Case 6:22-cv-00934-CEM-LHP Document 1-1 Filed 05/24/22 Page 2 of 4 PageID 11

                              Remit To Address
                              Accounting Department
                              Polymer80, Inc.
                                                                                                          Invoice
                              13601 W. McMillan Rd. #102-327
                              boise ID 83713
                                                                                                              #INV8135
                              United States                                                                          7/15/2021

Bill To                           Ship To                                TOTAL
Indie Guns LLC                    Indie Guns LLC
Ray Villafañe                     Ray Villafañe
3150 Harvest Lane
Kissimmee FL 34744
United States
                                  3150 Harvest Lane
                                  Kissimmee FL 34744
                                  United States
                                                                                       $702,625.00
Terms                  Due Date                  PO #                        Shipping Method            Ship Date
Net 30                 8/14/2021                 P80-7921.1                  Freight                    7/15/2021


                                                        Display Name/
           Item        Description                                        Quantity         Unit Price                   Amount
                                                        Code

P80-PF940v2-BLK-Kit-   PF940v2 and Jig system,          PF940v2 and         1,500              $75.00               $112,500.00
                       Black Pistol Frame               Jig system,
DNU                    assembly                         Black Pistol
                                                        Frame
                                                        assembly
P80-PF940v2-FDE-Kit-   PF940v2 and Jig system,          PF940v2 and           750              $75.00                $56,250.00
                       FDE Pistol Frame assembly        Jig system, FDE
DNU                                                     Pistol Frame
                                                        assembly
P80-PF940v2-ODG-Kit-   PF940v2 and Jig system,          PF940v2 and           500              $75.00                $37,500.00
                       ODG Pistol Frame                 Jig system,
DNU                    assembly                         ODG Pistol
                                                        Frame
                                                        assembly
P80-PF940v2-COB-Kit-   PF940v2 and Jig system,          PF940v2 and           750              $75.00                $56,250.00
                       Cobalt Pistol Frame              Jig system,
DNU                    assembly                         Cobalt Pistol
                                                        Frame
                                                        assembly
P80-PF940v2-GRY-Kit-   PF940v2 and Jig system,          PF940v2 and           150              $75.00                $11,250.00
                       Gray Pistol Frame                Jig system,
DNU                    assembly                         Gray Pistol
                                                        Frame
                                                        assembly
P80-PF940v2-BTI-Kit-   PF940v2 and Jig system,          PF940v2 and           200              $75.00                $15,000.00
                       Pistol Frame assembly,           Jig system,
DNU                    Blue Titanium                    Pistol Frame
                                                        assembly, Blue
                                                        Titanium
P80-PFS9-MAG-17        KCI G17 Magazine, P80            Polymer80 17        3,850               $0.00                     $0.00
                       Logo                             rd magazine
                                                        for G17
P80-PF940SC-BLK-Kit-   Polymer80, 80%                   Polymer80,          1,000              $75.00                $75,000.00
                       Subcompact Pistol Frame          80%
DNU                    and Jig, Black                   Subcompact
                                                        Pistol Frame
                                                        and Jig, Black
P80-PF940SC-FDE-Kit-   Polymer80, 80%                   Polymer80,          1,000              $75.00                $75,000.00
                       Subcompact Pistol Frame          80%
DNU                    and Jig, FDE                     Subcompact
                                                        Pistol Frame
                                                        and Jig, FDE




                                                                                                                       1 of 3
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                               Remit To Address
                               Accounting Department
                               Polymer80, Inc.
                                                                                               Invoice
                               13601 W. McMillan Rd. #102-327
                               boise ID 83713
                                                                                                #INV8135
                               United States                                                        7/15/2021


                                                      Display Name/
           Item         Description                                    Quantity   Unit Price          Amount
                                                      Code

P80-PF940SC-ODG-Kit-    Polymer80, 80%                Polymer80,           500      $75.00         $37,500.00
                        Subcompact Pistol Frame       80%
DNU                     and Jig, ODG                  Subcompact
                                                      Pistol Frame
                                                      and Jig, ODG
P80-PF940SC-GRY-Kit-    Polymer80, 80%                Polymer80,           500      $75.00         $37,500.00
                        Subcompact Pistol Frame       80%
DNU                     and Jig, GRY                  Subcompact
                                                      Pistol Frame
                                                      and Jig, GRY
P80-PF940Cv1-BLK-Kit-   Polymer80, 80% Compact        Polymer80,         2,000      $75.00        $150,000.00
                        Pistol Frame V1, Black        80% Compact
DNU                                                   Pistol Frame
                                                      V1, Black
P80-PF940Cv1-COB-Kit-   Polymer80, 80% Compact        Polymer80,         1,200      $75.00         $90,000.00
                        Pistol Frame V1, Cobalt       80% Compact
DNU                                                   Pistol Frame
                                                      V1, Cobalt
P80-PF940Cv1-BTI-Kit-   Polymer80, 80% Compact        Polymer80,           300      $75.00         $22,500.00
                        Pistol Frame V1, Blue         80% Compact
DNU                     Titanium                      Pistol Frame
                                                      V1, Blue
                                                      Titanium
P80-PF940Cv1-GRY-Kit-   Polymer80, 80% Compact        Polymer80,           200      $75.00         $15,000.00
                        Pistol Frame V1, Gray         80% Compact
DNU                                                   Pistol Frame
                                                      V1, Gray
P80-PF45-BLK-Kit-DNU    PF45 and Jig system, Black    PF45 and Jig         500      $85.00         $42,500.00
                        Pistol Frame assembly         system, Black
                                                      Pistol Frame
                                                      assembly
P80-PF45-FDE-Kit-DNU    PF45 and Jig system, FDE      PF45 and Jig         500      $85.00         $42,500.00
                        Pistol Frame assembly         system, FDE
                                                      Pistol Frame
                                                      assembly
P80-PF45-ODG-Kit-DNU    PF45 and Jig system, ODG      PF45 and Jig         500      $85.00         $42,500.00
                        Pistol Frame assembly         system, ODG
                                                      Pistol Frame
                                                      assembly
P80-PF45-COB-Kit-DNU    PF45 and Jig system,          PF45 and Jig         500      $85.00         $42,500.00
                        Cobalt Pistol Frame           system, Cobalt
                        assembly                      Pistol Frame
                                                      assembly
P80-PF45-GRY-Kit-DNU    PF45 and Jig system, Gray     PF45 and Jig         500      $85.00         $42,500.00
                        Pistol Frame assembly         system, Gray
                                                      Pistol Frame
                                                      assembly
Discount                                                                              -30%       ($301,125.00)

Freight                 Shipping for B2B              Estimated              1        $0.00              $0.00
                                                      Shipping
                                                      (actual cost
                                                      will be
                                                      reﬂected on
                                                      the invoice)

                                                                                                      2 of 3
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                  Remit To Address
                  Accounting Department
                  Polymer80, Inc.
                                                                       Invoice
                  13601 W. McMillan Rd. #102-327
                  boise ID 83713
                                                                        #INV8135
                  United States                                           7/15/2021

                                                            Subtotal     $702,625.00
                                                                Tax            $0.00

                                                               Total     $702,625.00

                                                        Amount Paid        $8,362.59
                                                         Amount Due      $694,262.41




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